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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION


 Ravgen, Inc.,

                         Plaintiff,                   Civil Action No. 6:20-cv-451

                  v.                                  JURY TRIAL DEMANDED

 Natera, Inc. and NSTX, Inc.,

                         Defendants.


                        COMPLAINT FOR PATENT INFRINGEMENT

       Plaintiff Ravgen, Inc. (“Ravgen”), for its Complaint against Defendants Natera, Inc. and

NSTX, Inc. (collectively “Defendants”), hereby alleges as follows:

                                      NATURE OF THE ACTION

       1.        This is a civil action for infringement of United States Patent Nos. 7,727,720 (the

“’720 Patent”) and 7,332,277 (the “’277 Patent”) (collectively the “Patents-in-Suit”), arising under

the Patent Laws of the United States, 35 U.S.C. §§ 271, et seq.

                                          THE PARTIES

       2.        Plaintiff Ravgen is a Delaware corporation with its principal place of business at

9241 Rumsey Rd., Columbia, MD 21045. Ravgen is a pioneering diagnostics company that

focuses on non-invasive prenatal testing. Ravgen has spent millions of dollars researching and

developing novel methods for the detection of cell-free DNA to replace conventional, invasive

procedures. Ravgen’s innovative cell-free DNA technology has various applications, including

non-invasive prenatal and other genetic testing. Those efforts have resulted in the issuance of

several patents, including the Patents-in-Suit.
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       3.       Defendant Natera, Inc. is a Delaware corporation with its principal place of

business at 201 Industrial Road, San Carlos, California 94070. (Ex. 9 at 1 (Texas Secretary of

State report for Natera, Inc.).) Natera, Inc. is registered to do business in the state of Texas. (Id.)

Natera, Inc. has appointed National Registered Agents, Inc., 1999 Bryan St., Ste. 900 Dallas, TX

75201 as its agent for service of process. (Id.) Natera, Inc. maintains diagnostic testing facilities,

laboratories, and office space for supporting and processing diagnostic tests at 13011 McCallen

Pass, Building A, Suite 100 Austin, TX 78753 and 106 East Sixth Street, Suite 934, Austin, TX

(Clinical Laboratory Improvement Amendments of 1988 (“CLIA”) ID number 45D2093704).

(See   Ex.    11   at   1    (https://www.builtinaustin.com/company/natera);        Ex.    12   at   3

(https://www.natera.com/hrzn27c).)

       4.       Defendant NSTX, Inc. is a Delaware corporation with its principal place of business

at 13011 McCallen Pass, Building A, Austin, TX 78753. (See Ex. 13 at 282 (Natera, Inc. Form

10-Q Filing (November 9, 2017), Ex. 10.2, http://investor.natera.com/static-files/92b40103-3740-

41ec-bbe2-bd319fbed285) at 341 (listing “13011 McCallen Pass, Build. A, Suite 100 Austin, TX

78753” as the address for NSTX, Inc.).) NSTX, Inc. is registered to do business in the state of

Texas. (Ex. 10 at 1 (Texas Secretary of State report for NSTX, Inc.).) NSTX, Inc. has appointed

National Registered Agents, Inc., 1999 Bryan St., Ste. 900 Dallas, TX 75201 as its agent for service

of process. (Id.) NSTX, Inc. is a wholly-owned subsidiary of Natera, Inc. (See, e.g., Ex. 13 at

177 (listing under “Schedule 6.8 Existing Subsidiaries” “NSTX, Inc.” with “Natera, Inc.” as the

“Direct & indirect owner(s)”).)

       5.       Defendants commercialize genetic tests using cell-free DNA, including: a non-

invasive prenatal diagnostic test for the determination of fetal chromosomal abnormalities

marketed under the tradename “Panorama”; a non-invasive prenatal diagnostic test to screen



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single-gene disorders marketed under the tradename “Vistara”; a circulating tumor DNA (ctDNA)

test for Minimal Residual Disease (MRD) assessment and surveillance marketed under the

tradename “Signatera”; and, a donor-derived cell-free DNA (dd-cfDNA) test for assessing the risk

of allograft rejection marketed under the tradename “Prospera.”        Defendants offer and market

those tests throughout the United States, at least through the website, www.natera.com. (See

generally Ex. 14 (https://www.natera.com/womens-health/panorama-nipt-prenatal-screening);

Ex.    15     (https://www.natera.com/womens-health/vistara-nipt-single-gene-test);          Ex.    16

(https://www.natera.com/oncology/signatera-advanced-cancer-detection);                 Ex.          17

(https://www.natera.com/organ-transplantation/prospera-organ-transplantation-assessment.).)

                                 JURISDICTION AND VENUE

       6.       Ravgen incorporates by reference paragraphs 1–5.

       7.       This action arises under the patent laws of the United States, including 35 U.S.C.

§§ 271, et seq. The jurisdiction of this Court over the subject matter of this action is proper under

28 U.S.C. §§ 1331 and 1338(a).

       8.       Venue is proper in this District pursuant to U.S.C. §§ 1391(b), (c), (d) and 1400(b)

because Defendants have a permanent and continuous presence in, have committed acts of

infringement in, and maintain regular and established places of businesses in this District.

       9.       By registering to conduct business in Texas and by having facilities where they

regularly conduct business in this District, Defendants have a permanent and continuous presence

and regular and established places of business in the Western District of Texas.

       10.      Natera, Inc. maintains regular and established places of businesses in this District,

including at least its diagnostic testing facilities, laboratories, and office space for supporting and

processing diagnostic tests at 13011 McCallen Pass, Building A, Suite 100, Austin, TX 78753 and



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106 East Sixth Street, Suite 934, Austin, TX (CLIA ID number 45D2093704). (See Ex. 11 at 1;

Ex. 12 at 3.)

       11.      NSTX, Inc. maintains regular and established places of businesses in this District,

including at least its CLIA-compliant diagnostic testing facilities, laboratories, and office space at

13011 McCallen Pass, Building A, Suite 110, Austin, TX 78753. (See Ex. 18 at 25 (Natera, Inc.

Form 10-K Filling (Filed March 2, 2020), http://investor.natera.com/static-files/97e03872-d617-

4ba8-b7ea-18a52f368eae) (“In September 2015, the Company’s subsidiary entered into a long-

term lease agreement for laboratory and office space totaling approximately 94,000 square feet in

Austin, Texas.”).) For example, NSTX, Inc. has a CLIA Certificate for its Austin facilities, as

shown on the Centers for Medicare & Medicaid Services (CMS) and Centers for Disease Control

and Prevention (CDC) websites:




(Ex.             19            at             1             (https://www.cms.gov/Regulations-and-

Guidance/Legislation/CLIA/CLIA_Laboratory_

Demographic_Information) (showing search result for CLIA number “45D2093704”).)




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(Ex. 20 at 1 (https://www.cdc.gov/clia/LabSearch.html) (showing search result for CLIA number

“45D2093704”).)

       12.    The testing facilities, laboratories, and office space at 13011 McCallen Pass,

Austin, TX 78753 identify both NSTX, Inc. and Natera, Inc. as occupants:




       13.    Defendants have numerous employees in this judicial District with responsibilities

relating to the accused genetic testing products, including the Panorama, Vistara, Signatera, and



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Prospera tests. For example, Natera, Inc. has over 20 job openings listed for its Austin, TX

location(s), including “Medical Laboratory Scientist I” under the heading “NIPT Panorama

(NIPT),” “Associate Laboratory Director,” “Technical Product Manager R&D - Oncology LIMS,”

and        “Laboratory    Operations     Manager.”              (See   generally        Ex.    21

(https://www.natera.com/careers/job-openings).) The “Associate Laboratory Director” position’s

“Primary Responsibilities” include:

                Review, approve, and sign-out reports for a variety of clinical
                molecular/cytogenetic and/or oncologic results, including NIPT,
                carrier screening, PGD/PGS, products of conception and oncology
                testing on platforms including SNP array analysis, NGS, and other
                methodologies. . .

                Provide clinical and technical support for genetic counselors and
                other laboratory personnel.

(Ex. 22 at 1 (https://www.natera.com/careers/job-openings?gnk=job&gni=8a78879e67ebaa7a01

6811bdc9a84f86&lang=en) (emphasis added).) The position “Technical Product Manager R&D

- Oncology LIMS” is described as supporting the Signatera product.                 (Ex. 23 at 1

(https://www.natera.com/careers/job-openings?gnk=job&gni=8a78839f7184b92601718aa644fb6

b8c&lang=en) (job listing for “Technical Product Manager R&D - Oncology LIMS” in “Austin,

TX,” stating “For this position focused on Oncology LIMS [laboratory information management

system], you will be working on projects and maintenance for LIMS related to our Signatera cancer

detection product.”).) Additionally, Natera, Inc. previously listed a job opening for its Austin

location       to    support     its    Prospera     product.           (Ex.       24     at    1

(https://www.linkedin.com/jobs/view/prospera-clinical-operations-coordinator-at-natera-

1450349453/) (previous job listing for “Prospera Clinical Operations Coordinator” in Austin,

Texas).)




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       14.     Defendants offer for sale and sell cell-free DNA tests that employ methods claimed

in the Patents-in-Suit, including the Panorama, Vistara, Signatera, and Prospera tests, throughout

the United States, including through their website, which is accessible in this District.

       15.     Natera, Inc. has committed acts of direct infringement in this judicial District itself

and/or through its wholly owned subsidiary NSTX, Inc. For example, on information and belief,

Natera, Inc., itself and/or through its wholly owned subsidiary NSTX, Inc., which acts as an agent

and alter ego of Natera, Inc. and is completely controlled and dominated by Natera, Inc., performs

infringing methods in this District by using the Panorama tests, including processing the results of

those tests, in offices and laboratories at 13011 McCallen Pass, Building A, Austin, TX 78753.

       16.     NSTX, Inc. has committed acts of direct infringement in this judicial District. For

example, on information and belief, NSTX, Inc. performs infringing methods in this District by

using the Panorama tests, including processing the results of those tests, in offices and laboratories

at 13011 McCallen Pass, Building A, Austin, TX 78753.

       17.     Venue is also proper because NSTX, Inc. is a wholly-owned subsidiary of Natera,

Inc., operates as an agent and alter-ego of Natera, Inc., and is completely controlled and dominated

by Natera, Inc. Natera, Inc. directs and is involved in the activities of NSTX, Inc., and they operate

as a single company. As the corporate parent of NSTX, Inc., Natera, Inc. has participated in the

commission of patent infringement in this judicial District, including by making, using, offering

for sale, and/or selling the Panorama, Vistara, Signatera, and Prospera tests in this District and

elsewhere that led to foreseeable harm and injury to Ravgen. The officers of NSTX, Inc. are also

officers of Natera, Inc. For example, Matthew Rabinowitz, the current Executive Chairman of the

board of directors of Natera, Inc., was the former CEO of both Natera, Inc. and NSTX, Inc. and

was a signatory to an August 8, 2017 Pledge and Security Agreement on behalf of both Natera,



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Inc. and NSTX, Inc. (See Ex. 13 at 307.) Michael Brophy, Natera, Inc.’s Chief Financial Officer,

has also served concurrently as the Chief Financial Officer of NSTX, Inc. and was a signatory to

a September 12, 2019 Amendment to the August 8, 2017 Pledge and Security Agreement on behalf

of both Natera, Inc. and NSTX, Inc.            (Ex. 25 at 108 (http://investor.natera.com/static-

files/3b4e548b-a257-4d4d-9491-15f674b9b63c, Natera, Inc. Form 10-Q Filing (Filed at

November 8, 2019), Ex. 10.1).) Jonathan Sheena, Natera, Inc.’s Chief Technology Officer, also

serves as NSXT, Inc.’s Chief Technology Officer according to NSTX, Inc.’s filing with the Texas

Secretary of State. (Ex. 9 at 4; Ex. 10 at 4.) All of the individuals listed as Directors of NSTX,

Inc. in NSTX, Inc.’s filing with the Texas Secretary of State also appear as Directors of Natera,

Inc. in Natera, Inc.’s filing with the Texas Secretary of State, including Roelof F. Botha, Todd

Cozzens, Edward C. Driscoll, Jr., James I. Healy, John Steuart, Gail Marcus, and Herm Rosenman.

(Ex. 9 at 4; Ex. 10 at 4.)

        18.     Natera, Inc. is subject to this Court’s jurisdiction pursuant to due process and/or the

Texas Long Arm Statute due at least to its substantial business in this State and judicial District,

including at least regularly doing and soliciting business at its Austin facilities, and engaging in

persistent conduct and/or deriving substantial revenue from goods and services provided to

customers in the State of Texas, including in the Western District of Texas. For example, Natera,

Inc. conducts business in the District, by at least offering for sale and selling products and services

that practice the claimed inventions of the Patents-in-Suit, including the Panorama, Vistara,

Signatera, and Prospera tests, including through its websites, which are accessible in this District.

In addition, Natera, Inc. leases and operates offices and laboratories in this District that support

and process products and services that practice the claimed inventions of the Patents-in-Suit,

including at least the Panorama test.



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       19.     This Court has personal jurisdiction over Natera, Inc. due, inter alia, to its

continuous presence in, and systematic contact with, this District and its registration in Texas.

Natera, Inc. has established minimum contacts within the forum such that the exercise of

jurisdiction over Natera, Inc. will not offend traditional notions of fair play and substantial justice.

       20.     Personal jurisdiction exists over Natera, Inc. because, Natera, Inc. directly and/or

through subsidiaries or intermediaries has committed and continues to commit acts of infringement

in this District by, among other things, using products and/or services that infringe the Patents-in-

Suit, which led to foreseeable harm and injury to Ravgen.

       21.     NSTX, Inc. is subject to this Court’s jurisdiction pursuant to due process and/or the

Texas Long Arm Statute due at least to its substantial business in this State and judicial District,

including at least part of its infringing activities, regularly doing and soliciting business at its

Austin facilities, and engaging in persistent conduct and/or deriving substantial revenue from

goods and services provided to customers in the State of Texas, including in the Western District

of Texas. For example, NSTX, Inc. conducts business in the District, by at least offering for sale

and selling products and services that practice the claimed inventions of the Patents-In-Suit,

including the Panorama test. In addition, NSTX, Inc. leases and operates offices and laboratories

in this District that support and process products and services that practice the claimed inventions

of the Patents-in-Suit, including the Panorama test.

       22.     This Court has personal jurisdiction over NSTX, Inc. due, inter alia, to its

continuous presence in, and systematic contact with, this judicial District and its registration in

Texas. NSTX, Inc. has established minimum contacts within the forum such that the exercise of

jurisdiction over NSTX, Inc. will not offend traditional notions of fair play and substantial justice.




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       23.     Personal jurisdiction exists over NSTX, Inc. because, NSTX, Inc. directly and/or

indirectly has committed and continues to commit acts of infringement in this judicial District by,

among other things, using products and/or services that infringe the Patents-in-Suit, which led to

foreseeable harm and injury to Ravgen.

                            BACKGROUND OF THE INVENTION

       24.     Dr. Ravinder S. Dhallan is the founder of Ravgen, Inc. and the inventor of several

patents in the field of detection of genetic disorders, including chromosomal abnormalities and

mutations. Ravgen’s mission is to provide state of the art genetic testing that will enrich the lives

of its patients. For example, through the use of its novel techniques in non-invasive prenatal

diagnostic testing, Ravgen gives patients the knowledge they need to prepare for their pregnancies

and treat diseases at an early stage.

       25.     Prior to founding Ravgen, Dr. Dhallan was a board-certified emergency room

physician, who completed his residency at Mass General (Harvard University School of

Medicine). During his time at medical school and his residency, Dr. Dhallan and his wife suffered

three miscarriages. At that time, the prenatal diagnostic testing procedures available included (a)

non-invasive techniques with low sensitivity and specificity, and (b) tests with higher sensitivity

and specificity that were highly invasive and therefore associated with a risk for loss of pregnancy.

After discovering the limitations on the available techniques for prenatal testing, Dr. Dhallan made

it his mission to invent an improved prenatal diagnostic exam—one that was both non-invasive

and accurate. In September of 2000, Dr. Dhallan founded Ravgen (which stands for “Rapid

Analysis of Variations in the GENome”) to pursue that goal.

       26.     Prior to Ravgen’s inventions, scientists had recognized the need for a genetic testing

technique that used “cell-free” or “free” fetal DNA circulating in maternal blood. A technique that



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relied on circulating free fetal DNA would require only a simple blood draw from the mother and

would therefore be improvement over invasive diagnostic tests.

       27.     However, at that time, the use of free fetal DNA for detecting chromosomal

abnormalities was limited by the low percentage of free fetal DNA that could be recovered from a

sample of maternal blood using existing techniques. (See, e.g., Ex. 26 (Lo Y.M. et al., Quantitative

analysis of fetal DNA in maternal plasma and serum: implications for noninvasive prenatal

diagnosis AM J HUM GENET. 1998; 62(4):768-775, available at https://doi.org/10.1016/S0140-

6736(97)02174-0.) Dr. Dhallan recognized that a method that could increase the percentage of

free fetal DNA relative to the free maternal DNA in a sample was necessary to the development

of an accurate, non-invasive prenatal diagnostic test.

       28.     After substantial research, Dr. Dhallan conceived that including an agent that

impedes cell lysis (disruption of the cell membrane) if cells are present during sample collection,

shipping, handling, and processing would permit the recovery of a larger percentage of cell-free

fetal DNA (relative to the cell-free maternal DNA in a sample). Dr. Dhallan hypothesized that

this new approach would decrease the amount of maternal cell lysis and therefore lower the amount

of cell-free maternal DNA in the sample, thereby increasing the percentage of cell-free fetal DNA.

He developed a novel method for processing cell-free fetal DNA that involved the addition of an

agent that impedes cell lysis—for example, a membrane stabilizer, a cross-linker, and/or a cell

lysis inhibitor—to maternal blood samples coupled with careful processing protocols. With that

novel method, Dr. Dhallan was able to increase the relative percentage of cell-free fetal DNA in

the processed sample.

       29.     Dr. Dhallan understood that his breakthrough laid the foundation for the

development of accurate non-invasive prenatal diagnostic tests. For example, he published a paper



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in the Journal of the American Medical Association (JAMA) in 2004 explaining that “the methods

described herein for increasing the percentage of cell-free fetal DNA provide a solid foundation

for the development of a noninvasive prenatal diagnostic test.” (Ex. 27 at 8 (Dhallan R., Au W.,

et al. Methods to Increase the Percentage of Free Fetal DNA Recovered From the Maternal

Circulation           JAMA            2004;            291(9):1114–1119,         available         at

https://doi.org/10.1001/jama.291.9.1114).)

       30.       JAMA also ran an editorial alongside Dr. Dhallan’s article in 2004, recognizing the

significance of his invention to applications in prenatal genetic diagnosis and cancer detection and

surveillance:

                 In this issue of THE JOURNAL, the findings reported in the study
                 by Dhallan and colleagues on enhancing recovery of cell-free DNA
                 in maternal blood have major clinical implications. Developing a
                 reliable, transportable technology for cell-free DNA analysis
                 impacts 2 crucial areas—prenatal genetic diagnosis and cancer
                 detection and surveillance. In prenatal genetic diagnosis, detecting
                 a fetal abnormality without an invasive procedure (or with fewer
                 invasive procedures) is a major advantage. Likewise in cancer
                 surveillance (e.g., in patients with leukemia), monitoring treatment
                 without having to perform a bone marrow aspiration for karyotype
                 also would be of great benefit

                                                ***
                 With prospective studies focusing on clinical applications of these
                 findings, profound clinical implications could emerge for prenatal
                 diagnosis and cancer surveillance.

(Ex. 28 at 1, 3 (Simpson J.L., Bischoff F., Cell-Free Fetal DNA in Maternal Blood: Evolving

Clinical        Applications      JAMA         2004;        291(9):1135–1137,       available      at

https://doi.org/10.1001/jama.291.9.1135).)

       31.       In 2007, Dr. Dhallan published a second journal article in The Lancet that presented

a study showcasing Ravgen’s ability to use its novel technology to detect Down’s syndrome using

free fetal DNA in a maternal blood sample. (Ex. 29 (Dhallan R., Guo X., et al. A non-invasive test

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for prenatal diagnosis based on fetal DNA present in maternal blood: a preliminary study.

LANCET. 2007; 369(9560):474‐481, available at https://doi.org/10.1016/S0140-6736(07)60115-

9).) Dr. Dhallan’s peers at the Lancet also recognized that his innovative test “opens a new era in

prenatal screening.” (See Ex. 30 (Benachi A., Costa J.M., Non-invasive prenatal diagnosis of fetal

aneuploidies THE LANCET, 2007; 369(9560):440–442, available at https://doi.org/10.1016/S0140-

6736(07)60116-0).)

        32.     Dr. Dhallan’s publications received worldwide press coverage, from outlets such

as CNN, BBC, and Washington Post. (See Ex. 31 (L. Palmer, “A better prenatal test?”, CNN

MONEY,                Sept.             12,             2007,               available               at

https://money.cnn.com/2007/09/07/smbusiness/amniocentesis

.fsb/index.htm); Ex. 32 (“Hope for safe prenatal gene test” BCC NEWS, Feb 2, 2007, available at

http://news.bbc.co.uk/2/hi/health/6320273.stm); Ex. 33 (A. Grander, “Experimental Prenatal Test

Helps    Spot    Birth   Defects”,    WASHINGTON      POST,     Feb.   2,    2007,      available   at

https://www.washingtonpost.com/wp-dyn/content/article/2007/02/02/AR2007020200914.html).)

        33.     The Patents-in-Suit resulted from Dr. Dhallan’s years-long research at Ravgen to

develop these innovative new methods for detecting genetic disorders.

                                      PATENTS-IN-SUIT

        34.     Ravgen incorporates by reference paragraphs 1–33.

        35.     The ’277 Patent, entitled “Methods For Detection Of Genetic Disorders,” was duly

and legally issued by the United States Patent and Trademark Office on February 19, 2008. The

inventor of the patent is Ravinder S. Dhallan, and the patent is assigned to Ravgen. A copy of the

’277 Patent is attached hereto as Exhibit 1.




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       36.     Ravgen is the exclusive owner of all rights, title, and interest in the ’277 Patent, and

has the right to bring this suit to recover damages for any current or past infringement of the ’277

Patent. (See Ex. 3.)

       37.     The ’720 Patent, entitled “Methods For Detection Of Genetic Disorders,” was duly

and legally issued by the United States Patent and Trademark Office on June 1, 2010. The inventor

of the patent is Ravinder S. Dhallan, and the patent is assigned to Ravgen. A copy of the ’720

Patent is attached hereto as Exhibit 2.

       38.     Ravgen is the exclusive owner of all rights, title, and interest in the ’720 Patent, and

has the right to bring this suit to recover damages for any current or past infringement of the ’720

Patent. (See Ex. 4.)

       39.     The ’277 Patent is directed to, among other things, novel methods used in the

detection of genetic disorders. For example, claim 81 of the ’277 Patent recites:

               A method for preparing a sample for analysis comprising isolating
               free fetal nucleic acid from a the sample, wherein said sample
               comprises an agent that inhibits lysis of cells, if cells are present,
               and wherein said agent is selected from the group consisting of
               membrane stabilizer, cross-linker, and cell lysis inhibitor.

       40.     The ’720 Patent is directed to novel methods for detecting a free nucleic acid in a

sample. For example, claim 1 of the ’720 Patent recites:

               A method for detecting a free nucleic acid, wherein said method
               comprises: (a) isolating free nucleic acid from a non-cellular
               fraction of a sample, wherein said sample comprises an agent that
               impedes cell lysis, if cells are present, and wherein said agent is
               selected from the group consisting of membrane stabilizer, cross-
               linker, and cell lysis inhibitor; and (b) detecting the presence or
               absence of the free nucleic acid.

       41.     The Patents-in-Suit are directed to unconventional, non-routine techniques for

preparing and analyzing extracellular circulatory DNA, including for the detection of genetic


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disorders. The Patents-in-Suit explain that, inter alia, the inventions claimed therein overcame

problems in the field—for example, that the low percentage of fetal DNA in maternal plasma

makes using the DNA for genotyping the fetus difficult—with a novel and innovative solution—

the addition of cell lysis inhibitors, cell membrane stabilizers or cross-linkers to the maternal blood

sample, which increase the percentage of cell-free DNA available for detection and analysis:

               The percentage of fetal DNA in maternal plasma is between 0.39-
               11.9% (Pertl, and Bianchi, Obstetrics and Gynecology 98: 483-490
               (2001)). The majority of the DNA in the plasma sample is
               maternal, which makes using the DNA for genotyping the fetus
               difficult. However, methods that increase the percentage of fetal
               DNA in the maternal plasma allow the sequence of the fetal DNA
               to be determined, and allow for the detection of genetic disorders
               including mutations, insertions, deletions, and chromosomal
               abnormalities. The addition of cell lysis inhibitors, cell membrane
               stabilizers or cross-linkers to the maternal blood sample can
               increase the relative percentage of fetal DNA. While lysis of both
               maternal and fetal cells is inhibited, the vast majority of cells are
               maternal, and thus by reducing the lysis of maternal cells, there is a
               relative increase in the percentage of free fetal DNA.

(Ex. 1 (’277 Patent) at 32:24–39; Ex. 2 (’720 Patent) at 33:31–46 (emphasis added).)

       42.     The Patents-in-Suit teach that the benefit of Dr. Dhallan’s discovery, an increase in

the relative percentage of cell-free DNA, is realized by performance of the claimed method,

including through the inclusion of an agent that inhibits the lysis of the cells in a sample:

               An overall increase in fetal DNA was achieved by reducing the
               maternal cell lysis, and thus, reducing the amount of maternal DNA
               present in the sample. In this example, formaldehyde was used to
               prevent lysis of the cells, however any agent that prevents the lysis
               of cells or increases the structural integrity of the cells can be used.
               The increase in fetal DNA in the maternal plasma allows the
               sequence of the fetal DNA to be determined, and provides for the
               rapid detection of abnormal DNA sequences or chromosomal
               abnormalities including but not limited to point mutation, reading
               frame shift, transition, transversion, addition, insertion, deletion,
               addition-deletion, frame-shift, missense, reverse mutation, and
               microsatellite alteration, trisomy, monosomy, other aneuploidies,


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                 amplification, rearrangement, translocation, transversion, deletion,
                 addition, amplification, fragment, translocation, and rearrangement.

(Ex. 1 (’277 Patent) at 91:44–60; Ex. 2 (’720 Patent) at 92:10–26.)

       43.       For example, during the prosecution of the ’720 Patent at the Patent and Trademark

Office, Ravgen explained that the innovative concept of using agents that inhibit cell lysis during

cell-free DNA detection and analysis is recited by the claimed methods of the ’720 Patent,

including in claim 1:

                 Applicant has discovered that the addition of a cell lysis inhibitor to
                 a sample prior to detecting the presence of free nucleic acid can
                 significantly and unexpectedly increase the proportion of free
                 nucleic acid obtained from the non-cellular fraction of a sample.

                                                 ***
                 The methods disclosed in claims 1-8, 21-23, and 26 serve a long-felt
                 need in the medical community, and provide unexpected results, and
                 are therefore non-obvious.

(Ex. 5 (’720 File History, June 2, 2009 Response to Office Action) at 12, 14 (emphasis added).)

       44.       The inventive concept of the Patents-in-Suit of including an agent that inhibits cell

lysis—for example, a membrane stabilizer, a cross-linker, and/or a cell lysis inhibitor—with a

sample represented a significant improvement in the preparation of samples used for non-invasive

testing, including non-invasive prenatal testing to unmask previously undetectable fetal genetic

traits. At the time of the invention, it would not have been routine or conventional to add an agent

that inhibits cell lysis to a sample to increase the proportion of free nucleic acid obtained from the

non-cellular fraction of a sample. In fact, as described above, that inventive concept was

recognized by Dr. Dhallan’s peers as “an important step in improving detection of cell-free DNA.”

(Ex. 28 at 3.)

                          DEFENDANTS’ INFRINGING ACTIVITIES

       45.       Ravgen incorporates by reference paragraphs 1–44.

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A.       The Accused Panorama Test

         46.    On March 1, 2013, Defendants launched the Panorama test, a commercial non-

invasive prenatal test for detecting fetal genetic abnormalities. (See Ex. 34 at 1 (“Natera Launches

Non-Invasive Prenatal Test Panorama™ with Best-in-Class Sensitivity, Specificity for Detection

of     Fetal   Chromosomal     Abnormalities,”    available   at   http://investor.natera.com/static-

files/e8a10798-0960-45b6-909a-bc96cf9ea9f7) (“Natera, a leading innovator in reproductive and

prenatal genetic testing, today [February 20, 2013] announced that the company’s non-invasive

prenatal screening test, Panorama™, will launch on March 1 for the detection of trisomy 21 (Down

syndrome), trisomy 18 (Edwards syndrome), trisomy 13 (Patau syndrome) and select sex

chromosome abnormalities, such as monosomy X (Turner’s syndrome).”).)

         47.    The Panorama test “uses fetal cell-free DNA found in maternal blood.” (Id.; see

also Ex. 35 at 25 (http://education.questdiagnostics.com/presentations/noninvasive-prenatal-

testing-separate-but-not-equal?presentation_id=242).)

         48.    The Panorama test requires samples containing an agent that inhibits cell lysis. For

example, Defendants instruct that “Panorama requires two cell-free DNA Streck tubes each filled

with      at    least   10mL      of    the      mother’s     blood.”        (Ex.     36     at    1

(https://www.natera.com/products/panorama-test?page=4).)




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(Ex.   37    at     1   (“Panorama    Sample    Collection   Instructions,”   downloaded      from

https://www.natera.com/file/7891/download?token=udKvGAKP).) In fact, the Panorama tests

require the use of Streck cell-free DNA tubes for sample collection. See Ex. 38 at 43 (Natera, Inc.

Form 10-K Filing (Filed March 2, 2020), https://natera.gcs-web.com/static-files/567cdba4-a6f4-

4935-9329-3756d7e37226) (“Streck is the sole supplier of the blood collection tubes included in

our Panorama test under a supply arrangement with Streck under which we are required to

exclusively use Streck tubes.”).)

       49.        The Streck Cell-Free DNA Blood Collection Tube (“BCT”) includes an agent that

inhibits cell lysis. A Streck Cell-Free DNA BCT “stabilizes nucleated blood cells. The unique

preservative limits the release of genomic DNA, allowing isolation of high-quality cell-free

DNA. Cell-Free DNA BCT has also been demonstrated to minimize the degradation of circulating

tumor cells (CTCs). By limiting cell lysis, the specialized chemistry provides sample integrity

during storage, shipping and handling of blood samples. Cell-free DNA and gDNA are stable for


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up to 14 days at 6 °C to 37 °C. CTCs are stable for up to 7 days at 15 °C to 30 °C.” (Ex. 39 at 2

(https://www.streck.com/products/stabilization/cell-free-dna-bct/#resources).)

       50.        In processing Panorama tests, Defendants isolate cell-free DNA from a sample of

maternal blood collected in a Streck Cell-Free DNA BCT and then analyze the isolated fetal cell-

free DNA to detect chromosomal abnormalities as shown below:




(Ex. 35 at 25.)




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(Ex. 40 at 2 (https://www.natera.com/sites/default/files/PAN-MD-BR_2018_02_14_NAT-

801513_DWNLD.pdf);          see   also,   e.g.,   Ex.   41   at   1     (https://www.natera.com/press-

releases/panorama-nipt-achieves-2-million-test-milestone) (“Panorama reveals a baby's risk for

severe genetic disorders as early as nine weeks into pregnancy. The test uses a unique single-

nucleotide polymorphism (SNP)-based technology to analyze fetal/placental DNA obtained

through a blood draw from the mother. It is the only test that differentiates between maternal and

fetal   DNA      in   the     relevant     chromosomes       of       interest.”);   Ex.   42   at   2

(https://www.natera.com/womens-health/panorama-clinician-info) (displaying video entitled,

“Panorama: The Power of SNPs,” stating at 00:04–00:30: “Panorama is a non-invasive prenatal

screening test, or NIPT, from Natera. It screens fetal DNA from the placenta for common

chromosome conditions, such as aneuploidies and microdeletions. Panorama and other NIPTs

isolate cell-free DNA from maternal blood. While other NIPTs utilize quantitative methods,

Panorama analyzes single nucleotide polymorphisms, or SNPs, to determine the risk of certain

chromosome abnormalities in the fetus.”); id. at 01:00–01:25 (“The plasma from the maternal

DNA sample contains a mixture of maternal DNA fragments as well as fetal DNA fragments

derived from the placenta. Another component of the blood sample is the buffy coat, which


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contains only maternal white blood cells. By analyzing the SNPs in the plasma, which contain a

combination of maternal and fetal DNA fragments, as well as the buffy coat which contains only

maternal DNA, Panorama is able to isolate the fetal DNA signal, and analyze it for chromosome

abnormalities.”); Ex. 43 at 1 (Hall, M. P., et al Non-invasive prenatal detection of trisomy 13 using

a single nucleotide polymorphism- and informatics-based approach PLOS             ONE,   2014; 9(5),

e96677, https://doi.org/10.1371/journal.pone.0096677) (Natera, Inc. study describing the

technology underlying the Panorama explains the protocol to include that “[c]ell-free DNA was

isolated from maternal plasma, amplified in a single multiplex polymerase chain reaction assay

that interrogated 19,488 SNPs covering chromosomes 13, 18, 21, X, and Y, and sequenced.”); Ex.

38 at 8 (“We extract DNA from each sample, amplify the specific SNPs that we are interested in

measuring, and then sequence the DNA using NGS. Using our proprietary bioinformatics

technology, we analyze the DNA sequences to assess the state of the fetal genome, focusing on

the SNP data, while incorporating public information from the Human Genome Project. Our

bioinformatics algorithm builds billions of detailed models of the potential genetic state of the

sample to determine the most likely diagnosis. After Panorama generates its result, we provide the

doctor or the laboratory with a simple report showing the risk that abnormalities are present in the

fetus.”); see generally Ex. 44 (https://www.natera.com/snp-method-nipt).)

B.     The Accused Vistara Test

       51.     May 2017, Defendants launched the Vistara test, a commercial non-invasive

prenatal test for detecting fetal genetic abnormalities. (See Ex. 45 at 1 (“Natera, Inc. Announces

Launch of Vistara Single-Gene Mutation NIPT,” available at https://natera.gcs-web.com/news-

releases/news-release-details/natera-inc-announces-launch-vistara-single-gene-mutation-nipt)

(“Natera (NASDAQ: NTRA), a leader in genetic testing, announced the launch of Vistara, a non-



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invasive prenatal test (NIPT) to screen single-gene disorders. Vistara is a complement to Natera's

market-leading Panorama® non-invasive prenatal test (NIPT) and screens for new mutations in 30

genes that have a combined incidence rate of nearly 1 in 600, which is higher than that of Down

syndrome.”); Ex. 25 at 68 (“We began offering our Vistara single-gene mutations screening test

in May 2017.”).)

       52.     The Vistara test uses “circulating cell-free fetal DNA in maternal blood.” (Ex. 46

at 1 (https://zotzklimas.de/images/vistara/VISTARA_White_Paper_englisch.pdf); see Ex. 47 at 2

(http://www.elitekliinik.ee/eng/wp-content/uploads/sites/3/2018/10/POSITIVE-Vistara-Sample-

Report.pdf) (sample Natera Vistara report stating that Vistara “evaluates genetic information in

the maternal blood, which is a mixture of maternal and placental DNA”).)

       53.     The Vistara test requires samples containing an agent that inhibits cell lysis. For

example, Defendants instruct that Vistara requires a maternal sample collected in “[t]wo 10mL

Tiger-top Streck Cell-Free DNA BCT® blood tubes”:




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(Ex.    48     at    2      (“Vistara   Sample        Collection    Instructions,”    available     at

https://www.natera.com/sites/default/files/UNIV-13%20NAT-802095_FILLABLE.pdf.)

       54.     As described above, samples collected in Streck Cell-Free DNA BCT tubes,

including Signatera blood samples, contain an agent that inhibits cell lysis. (See Ex. 39 at 2.)

       55.     In processing Vistara tests, cell-free DNA is isolated from a sample of maternal

blood collected in a Streck Cell-Free DNA BCT, and then the isolated fetal cell-free DNA is

analyzed to detect single gene disorders. (Ex. 46 at 1 (“[The Vistara test] screens for specific

clinically significant and life-altering single gene disorders that are outside the scope of current

non-invasive prenatal tests. A SNP-based fetal fraction calculation method was developed that

yielded concordance with the established Y-chromosome method. We also demonstrate that this

test can detect DNA changes in cell-free plasma DNA using a combination of spike-in samples

and samples from pregnant women.”); id. at 2 (“plasma cell-free DNA is extracted from maternal

blood”); id. (“For this assay, fetal fraction is calculated based on the detection of the unique SNPs

analyzed across the genome.”); id. at 5 (“This assay can accurately sequence cell-free DNA for the

mother’s plasma and can detect DNA changes (both benign and disease-causing) with a sensitivity

and specificity >99%.”).)

       56.     Defendants instruct third-party laboratories to perform the Vistara tests as described

above. (Ex. 38 at 40 (“[O]ur Vistara single-gene mutations testing is performed by third-party

laboratories. These third-party laboratories are subject to contractual obligations to perform these

services for us.”); Ex. 46 at 5 (“Natera collaborated with Baylor Genetics to assist in clinical

introduction of the test, particularly in providing samples to help establish the lower limit of fetal

fraction. This test is performed and reported by Baylor Genetics.”).)




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C.     The Accused Signatera Test

       57.      In 2017, Defendants launched the Signatera test, a circulating tumor (ctDNA)

blood test for Minimal Residual Disease (MRD) assessment and surveillance of disease recurrence

in patients previously diagnosed with cancer. (See Ex. 49 at 1 (“Natera Launches Signatera™

Personalized Circulating Tumor DNA Technology for Cancer Research,” available at

https://www.natera.com/press-releases/natera-launches-signatera%E2%84%A2-personalized-

circulating-tumor-dna-technology-cancer) (“Natera, Inc. (NASDAQ: NTRA), a leader in non-

invasive genetic testing, today [August 21, 2017] announced the launch of SignateraTM, a

circulating tumor DNA (ctDNA) technology that analyzes and tracks mutations specific to an

individual's tumor, for research use only (RUO) by oncology researchers and biopharmaceutical

companies. Already in clinical validation with multiple world-leading cancer institutes,

SignateraTM offers a novel personalized approach to cancer detection in plasma.”).)

       58.     The Signatera test involves extracting circulating tumor DNA (ctDNA) from a

blood sample for detection. (Id.)

       59.     The Signatera test requires samples containing an agent that inhibits cell lysis. For

example, Defendants instruct that the blood sample for the Signatera test be collected in “Two

tubes of whole blood collected in Streck tubes or 10 mL of double-spun plasma.” (Ex. 50 at 5

(https://www.natera.com/oncology/signatera-research-pipeline); see Ex. 36 at 43 (“We also only

use Streck tubes for the primary analysis of Signatera results”); Ex. 51 at 1

(https://www.natera.com/sites/default/files/SGN_PositiveReport_Mockup.pdf) (Signatera report

describing that “Circulating tumor DNA is extracted from plasma collected in Streck tubes using

Natera's proprietary methods”).)

       60.     As described above, samples collected in Streck Cell-Free DNA BCT tubes,

including Signatera blood samples, contain an agent that inhibits cell lysis. (See Ex. 39 at 2.)
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       61.    In processing Signatera tests, Defendants isolate and sequence cell-free tumor DNA

from the blood sample:




(Ex. 52 at 2 (Abbosh C. et al. Phylogenetic ctDNA analysis depicts early-stage lung cancer

evolution NATURE 2017; 545(7655): 446‐451, https://doi.org/10.1038/nature22364, Figure 1)

(“Overview of the study methodology. . . . Cell-free DNA was extracted from pre- and post-

operative plasma samples and multiplex-PCR performed, followed by sequencing of amplicons.”);

see also, e.g., Ex. 50 at 4 (“Signatera residual disease test. The DNA sequence from your tumor

tissue is compared to normal cells from your blood to determine the unique set of mutations

specific to your tumor tissue.”); Ex. 51 at 1 (“Whole-exome sequencing using KAPA Hyper Prep

library kit (Roche) with a custom xGen exome capture (IDT) is performed to identify tumor DNA

sequence using a proprietary algorithm. Sixteen putative clonal variants present in the tumor but

absent in the baseline DNA form the basis for individual-specific PCR-based assays. Individual-

specific PCR assays are run to detect presence or absence of circulating tumor DNA (ctDNA). A


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patient’s plasma sample is considered ctDNA positive when at least two individual-specific tumor

variants are detected.”).)

D.      The Accused Prospera Test

        62.       In 2020, Defendants launched the Prospera test, a donor-derived cell-free DNA (dd-

cfDNA) test for assessing the risk of allograft rejection. (See Ex. 38 at 16 (“We received a final

Medicare local coverage determination, or LCD, for Prospera in December 2019, covering all

kidney transplant recipients, including those with multiple kidney transplants, and are working

towards a full-scale commercial launch in 2020.”); Ex. 58 at 1 (“Natera Receives Final Medicare

Coverage for Prospera™ Organ Transplant Rejection Assessment Test,” available at

https://www.natera.com/press-releases/natera-receives-final-medicare-coverage-

prospera%E2%84%A2-organ-transplant-rejection) (“The Prospera test assesses the risk of active

renal allograft rejection with greater precision than other biomarkers or other dd-cfDNA tests on

the market.”).)

        63.       The Prospera test is used to detect the presence of donor-derived cell-free DNA in

blood samples of organ recipients, which can indicate whether the recipient is experiencing active

rejection.    (See Ex. 17 at 1 (https://www.natera.com/organ-transplantation/prospera-organ-

transplantation-assessment) (“Prospera is powered by highly optimized, proprietary cell-free DNA

(cfDNA) technology. As part of your toolkit to watch for signs of active rejection, Prospera

assesses all types of kidney transplant rejection with great precision. . . . Simpler and less invasive

than biopsy: Prospera measures the amount of donor DNA from a transplant recipient through a

blood test.”).)

        64.       The Prospera test requires samples containing an agent that inhibits cell lysis. For

example, Defendants require that the blood sample for Prospera be collected in Streck Cell-Free



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DNA tubes.      (See Ex. 54 at 2 (https://www.natera.com/organ-transplantation/prospera-faq)

(“Prospera requires two cell-free DNA Streck tubes each filled with at least 10mL of the patient's

blood to achieve optimal performance.”).)




(Ex.    55     at    1     (“Prospera     Sample         Collection   Instructions,”   available   at

https://www.natera.com/sites/default/files/MLB-10096-

Rev01%20Prospera%20Domestic%20Sample%20Collection%20Instructions-NAT-

801960_DWNLD_REVISION%20FOR%20OCT%202019.pdf); see also Ex. 38 at 43 (“We also

only use Streck tubes . . . for our Prospera test.”).)

        65.     As described above, samples collected in Streck Cell-Free DNA BCT tubes,

including Signatera blood samples, contain an agent that inhibits cell lysis. (See Ex. 39 at 2.)

        66.     In processing Prospera tests, Defendants isolate and sequence cell-free DNA from

the blood sample.

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(Ex. 17 at 2.)




(Ex.     53      at   2   (https://www.natera.com/sites/default/files/PRO_PhysicianBrochure_

20190903_NAT-801997_Alternate_DWNLD.pdf); Ex 53 at 1 (“Prospera is powered by highly

optimized, proprietary cell-free DNA (cfDNA) technology. As part of your toolkit to watch for
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signs of active rejection, Prospera assesses all types of kidney transplant rejection with great

precision. . . . Simpler and less invasive than biopsy: Prospera measures the amount of donor DNA

from a transplant recipient through a blood test.”); see also Ex. 38 at 16 (“Our assay, Prospera, is

designed to assess active rejection in patients who have undergone kidney transplantation by

measuring the fraction of dd-cfDNA in the recipient’s blood, which can spike relative to

background cfDNA when the transplanted organ is injured due to immune rejection.”); Ex. 56 at

3 (Sigdel T.K. et al. Optimizing Detection of Kidney Transplant Injury by Assessment of Donor-

Derived Cell-Free DNA via Massively Multiplex PCR J CLIN MED. 2018; 8(1):19, available at

https://doi.org/10.3390/jcm8010019)1 (“dd-cfDNA Measurement in Blood Samples. Cell-free

DNA was extracted from plasma samples using the QIAamp Circulating Nucleic Acid Kit

(Qiagen) and quantified on the LabChip NGS 5k kit (Perkin Elmer, Waltham, MA, USA)

following manufacturer’s instructions. Cell-free DNA was input into library preparation using the

Natera Library Prep kit as previously described, with a modification of 18 cycles of library

amplification to plateau the libraries. Purified libraries were quantified using LabChip NGS 5k as

previously described. Target enrichment was accomplished using massively multiplexed-PCR

(mmPCR) using a modified version of a previously described method, with 13,392 single

nucleotide polymorphisms (SNPs) targeted. Amplicons were then sequenced on an Illumina HiSeq

2500 Rapid Run, 50 cycles single end, with 10–11 million reads per sample.”); id. at 16 (“In

conclusion, this study validates the use of dd-cfDNA in the blood as an accurate marker of kidney

injury/rejection across a range of pathologies with acute and chronic findings.”).)




1
  Defendants reference this paper as a “Clinical Validation Study” for Prospera. (See Ex. 57 at 3
(https://www.natera.com/organ-transplantation/prospera-clinicians).)
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E.     Defendants’ Knowledge Of The Ravgen Patents

       67.     On information and belief, Defendants have been aware of the Patents-in-Suit and

the fact that performance of the Defendants’ cell-free DNA tests, including Panorama, Vistara,

Signatera, and Prospera, practice the claimed inventions of those patents since at least 2015.

       68.     In 2014 and 2015, Matthew Rabinowitz, Natera, Inc.’s co-founder, former Chief

Executive Officer and current Executive Chairman and NSTX, Inc.’s Chief Executive Officer, and

Daniel Rabinowitz, Natera, Inc.’s Secretary and General Counsel, communicated with Dr.

Dhallan, the founder of Ravgen, about Ravgen’s technology and its patent portfolio.

       69.     For example, in January 2014, Defendants, through Matthew Rabinowitz and

Daniel Rabinowitz, reached out to Dr. Dhallan via email and expressed interest in meeting

regarding Ravgen’s technology.       In 2015, the same individuals, on behalf of Natera Inc.,

communicated with Dr. Dhallan about the Ravgen patent portfolio through email correspondence,

phone calls, and an in-person meeting. As referenced in a letter dated June 25, 2015 from Dr.

Dhallan to Matthew Rabinowitz and Daniel Rabinowitz, those individuals expressed interest in

licensing or acquiring Ravgen’s patent portfolio. (See, e.g., Ex. 6 at 1.) The Ravgen patent

portfolio—both at that time and today—is composed of seven U.S. Patents, including the two

Patents-in-Suit. On information and belief, at least by June 2015, Defendants were therefore aware

of the Patents-in-Suit and were aware of, or willfully blind to, their infringement of those patents.

       70.     On May 15, 2020, Ravgen, through outside counsel, sent another letter to Matthew

Rabinowitz and Daniel Rabinowitz, identifying the ’720 and ’277 Patents and informing

Defendants that “Natera has used and continues to use its patent technology by making, using,

selling, offering to sell, and/or importing products that include the patented methods, such as, for

example, Natera’s Panorama test.” (See Exs. 7–8.) Although that letter requested a meeting to

discuss a potential license, Defendants failed to respond. (Id.)
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        71.      Despite their knowledge of the Patents-in-Suit and of their infringement of those

patents by at least June 2015, Defendants have continued to willfully infringe the Patents-in-Suit

so as to obtain the significant benefits of Ravgen’s innovations without paying compensation to

Ravgen. For example, Defendants have continued to use the claimed methods in their Panorama

test without a license, generating hundreds of millions of dollars in revenue. Additionally, after

becoming aware of the Patents-in-Suit, Defendants began commercializing three other cell-free

DNA tests built on and including the claimed inventions, the Vistara, Signatera, and Prospera tests,

which launched in 2017, 2017, and 2020 respectively.

                                              COUNT I

                                 (Infringement Of The ’277 Patent)

        72.      Ravgen incorporates by reference paragraphs 1–71.

        73.      The ’277 Patent is valid and enforceable.

        74.      Defendants have infringed, and continue to infringe, one or more claims of the ’277

Patent under 35 U.S.C. § 271, either literally and/or under the doctrine of equivalents, by making,

using, selling, and/or offering for sale in the United States, and/or importing into the United States,

products and/or methods encompassed by those claims, including Defendants’ Panorama and

Vistara tests.

        75.      For example, Defendants infringe at least exemplary claim 81 of the ’277 Patent by

using the Panorama test. For example, use of the Panorama test requires a method for preparing a

sample for analysis, wherein said method comprises:

              a. isolating free fetal nucleic acid (such as cell-free fetal DNA) from a sample (such

                 as a maternal blood sample) (see, e.g., Ex. 42 at 2 (video describing isolation of

                 cell-free fetal DNA from maternal blood sample)),



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             b. wherein said sample comprises an agent that inhibits lysis of cells, if cells are

                present, and wherein said agent is selected from the group consisting of membrane

                stabilizer, cross-linker, and cell lysis inhibitor (such as cell-free DNA Streck tubes

                filled with at least 10mL of blood) (see, e.g., Ex. 36 at 1 (describing that the

                Panorama test requires “two cell-free DNA Streck tubes each filled with at least

                10mL of the mother’s blood”); Ex. 39 at 2 (describing Streck cell-free DNA tubes

                as containing a “unique preservative [which] limits the release of genomic DNA,

                allowing isolation of high-quality cell-free DNA” and “specialized chemistry” that

                “limit[s] cell lysis”)).

       76.      For example, Defendants infringe at least exemplary claim 81 of the ’277 Patent by

using the Vistara test and/or by directing and/or controlling the performance of the claimed steps

by third-party laboratories performing the Vistara test. For example, use of the Vistara test requires

a method for preparing a sample for analysis, wherein said method comprises:

             a. isolating free fetal nucleic acid (such as cell-free fetal DNA) from a sample (such

                as a maternal blood sample) (see, e.g., Ex. 46 at 2 (“plasma cell-free DNA is

                extracted from maternal blood”)),

             b. wherein said sample comprises an agent that inhibits lysis of cells, if cells are

                present, and wherein said agent is selected from the group consisting of membrane

                stabilizer, cross-linker, and cell lysis inhibitor (such as cell-free DNA Streck tubes

                filled with at least 10mL of blood) (see, e.g., Ex. 48 at 2 (describing that Vistara

                requires a maternal sample collected in “[t]wo 10mL Tiger-top Streck Cell-Free

                DNA BCT® blood tubes”); Ex. 39 at 2 (describing Streck cell-free DNA tubes as

                containing a “unique preservative [which] limits the release of genomic DNA,



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               allowing isolation of high-quality cell-free DNA” and “specialized chemistry” that

               “limit[s] cell lysis”)).

       77.     Defendants have infringed, and continue to infringe, one or more claims of the ’277

Patent under 35 U.S.C. § 271(a), either literally and/or under the doctrine of equivalents, by using

the Panorama test and by using the Vistara test and/or by directing and/or controlling the

performance of the claimed steps by third-party laboratories performing the Vistara test.

       78.     Defendants have also induced infringement, and continue to induce infringement,

of one or more claims of the ’277 Patent under 35 U.S.C. § 271(b). Defendants actively,

knowingly, and intentionally induced, and continue to actively, knowingly, and intentionally

induce, infringement of the ’277 Patent by selling or otherwise supplying the Vistara tests with the

knowledge and intent that third-party laboratories will use the Vistara tests supplied by Defendants

to infringe the ’277 Patent; and with the knowledge and intent to encourage and facilitate third-

party infringement through the dissemination of the Vistara tests and/or the creation and

dissemination of promotional and marketing materials, supporting materials, instructions, product

manuals, and/or technical information related to the Vistara tests.

       79.     Defendants specifically intended and were aware that the ordinary and customary

use of the Vistara tests would infringe the ’277 Patent. For example, Defendants sell and provide

the Vistara tests, which when used in their ordinary and customary manner intended and instructed

by Defendants, infringe one or more claims of the ’277 Patent, including at least exemplary claim

81. Defendants further provide product manuals and other instructional materials that cause third-

party laboratories to operate the Vistara tests for their ordinary and customary use. Defendants’

third-party laboratories have directly infringed the ’277 Patent, including at least exemplary claim

81, through the normal and customary use of the Vistara tests. Defendants accordingly have



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induced and continue to induce Defendants’ third-party laboratories to use the Vistara tests in their

ordinary and customary way to infringe the ’277 Patent, knowing, or at least being willfully blind

to the fact, that such use constitutes infringement of the ’277 Patent.

       80.     Defendants have contributed to the infringement by third parties, including

Defendants’ third-party laboratories, and continue to contribute to infringement by third parties,

of one or more claims of the ’277 Patent under 35 U.S.C. § 271(c), by making, selling and/or

offering for sale in the United States, and/or importing into the United States, the Vistara tests,

knowing that those products constitute a material part of the inventions of the ’277 Patent, knowing

that those products are especially made or adapted to infringe the ’277 Patent, and knowing that

those products are not staple articles of commerce suitable for substantial non-infringing use.

       81.     Defendants have had knowledge of and notice of the ’277 Patent and their

infringement since at least June 2015, as evidenced by communications between Ravgen and

Defendants.

       82.     Defendants’ infringement of the ’277 Patent was, and continues to be, willful and

deliberate since, at least June 2015, when Defendants’ representatives communicated Defendants’

interest in acquiring or licensing the Ravgen patent portfolio, including the ’277 Patent.

       83.     Ravgen has been and continues to be damaged by Defendants’ infringement of the

’277 Patent, and will suffer irreparable injury unless the infringement is enjoined by this Court.

       84.     Defendants’ conduct in infringing the ’277 Patent renders this case exceptional

within the meaning of 35 U.S.C. § 285.

                                            COUNT II

                                Infringement Of The ’720 Patent

       85.     Ravgen incorporates by reference paragraphs 1–84.



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       86.      The ’720 Patent is valid and enforceable.

       87.      Defendants have infringed, and continue to infringe, one or more claims of the ’720

Patent under 35 U.S.C. § 271, either literally and/or under the doctrine of equivalents, by making,

using, selling, and/or offering for sale in the United States, and/or importing into the United States,

products and/or methods encompassed by those claims, including Defendants’ Panorama, Vistara,

Signatera, and Prospera tests.

       88.      For example, Defendants infringe at least exemplary claim 1 of the ’720 patent by

using the Panorama test. For example, use of the Panorama test requires a method for detecting a

free nucleic acid, wherein said method comprises:

             a. isolating free nucleic acid (such as cell-free fetal DNA) from a non-cellular fraction

                of a sample (such as a maternal blood sample) (see, e.g., Ex. 42 at 2 (video

                describing isolation of cell-free fetal DNA from maternal blood sample)),

             b. wherein said sample comprises an agent that impedes cell lysis, if cells are present,

                and wherein said agent is selected from the group consisting of membrane

                stabilizer, cross-linker, and cell lysis inhibitor (such as cell-free DNA Streck tubes

                filled with at least 10mL of maternal blood) (see, e.g., Ex. 36 at 1 (describing that

                the Panorama test requires “two cell-free DNA Streck tubes each filled with at least

                10mL of the mother’s blood”); Ex. 39 at 2 (describing Streck cell-free DNA tubes

                as containing a “unique preservative [which] limits the release of genomic DNA,

                allowing isolation of high-quality cell-free DNA” and “specialized chemistry” that

                “limit[s] cell lysis”)).

             c. detecting the presence or absence of the free nucleic acid (see, e.g., Ex. 46 at 5

                (“This assay can accurately sequence cell-free DNA for the mother’s plasma and



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                can detect DNA changes (both benign and disease-causing) with a sensitivity and

                specificity >99%.”)).

       89.      For example, Defendants infringe at least exemplary claim 1 of the ’720 patent by

using the Vistara test and/or by directing and/or controlling the performance of the claimed steps

by third-party laboratories performing the Vistara test. For example, use of the Vistara test requires

a method for detecting a free nucleic acid, wherein said method comprises:

             a. isolating free nucleic acid (such as cell-free fetal DNA) from a non-cellular fraction

                of a sample (such as a maternal blood sample) (see, e.g., Ex. 46 at 2 (“plasma cell-

                free DNA is extracted from maternal blood”)),

             b. wherein said sample comprises an agent that impedes cell lysis, if cells are present,

                and wherein said agent is selected from the group consisting of membrane

                stabilizer, cross-linker, and cell lysis inhibitor (such as cell-free DNA Streck tubes

                filled with at least 10mL of maternal blood) (see, e.g., Ex. 48 at 2 (describing that

                Vistara requires a maternal sample collected in “[t]wo 10mL Tiger-top Streck Cell-

                Free DNA BCT® blood tubes”); Ex. 39 at 2 (describing Streck cell-free DNA tubes

                as containing a “unique preservative [which] limits the release of genomic DNA,

                allowing isolation of high-quality cell-free DNA” and “specialized chemistry” that

                “limit[s] cell lysis”)).

             c. detecting the presence or absence of the free nucleic acid (see, e.g., Ex. 46 at 1–5

                (describing the detection of fetal DNA obtained from the maternal blood).

       90.      For example, Defendants infringe at least exemplary claim 1 of the ’720 patent by

using the Signatera test. For example, use of the Signatera test requires a method for detecting a

free nucleic acid, wherein said method comprises:



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             a. isolating free nucleic acid (such as cell-free circulating tumor DNA) from a non-

                cellular fraction of a sample (such as a blood sample) (see, e.g., Ex. 52 at 2 (“Cell-

                free DNA was extracted from pre- and post-operative plasma samples”)),

             b. wherein said sample comprises an agent that impedes cell lysis, if cells are present,

                and wherein said agent is selected from the group consisting of membrane

                stabilizer, cross-linker, and cell lysis inhibitor (such as cell-free DNA Streck tubes

                filled with blood) (see, e.g., Ex. 50 at 5 (“Two tubes of whole blood collected in

                Streck tubes or 10 mL of double-spun plasma.”); Ex. 39 at 2 (describing Streck

                cell-free DNA tubes as containing a “unique preservative [which] limits the release

                of genomic DNA, allowing isolation of high-quality cell-free DNA” and

                “specialized chemistry” that “limit[s] cell lysis”));

             c. detecting the presence or absence of the free nucleic acid (see, e.g., Ex. 50 at 4

                (“The DNA sequence from your tumor tissue is compared to normal cells from your

                blood to determine the unique set of mutations specific to your tumor tissue.”)).

       91.      For example, Defendants infringe at least claim 1 of the ’720 patent by using the

Prospera test. For example, use of the Prospera test requires a method for detecting a free nucleic

acid, wherein said method comprises:

             a. isolating free nucleic acid (such as donor-donated and recipient cell-free DNA)

                from a non-cellular fraction of a sample (such as a blood sample) (see, e.g., Ex. 53

                at 2 (the Prospera test “[e]fficiently extracts high-quality cfDNA to remove

                impurities, reduce noise, and produce significantly higher yield”; showing “mix of

                donor and recipient cell-free DNA” from blood sample)).




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              b. wherein said sample comprises an agent that impedes cell lysis, if cells are present,

                 and wherein said agent is selected from the group consisting of membrane

                 stabilizer, cross-linker, and cell lysis inhibitor (such as cell-free DNA Streck tubes

                 filled with at least 10mL of blood) (see, e.g., Ex. 54 at 2 (“Prospera requires two

                 cell-free DNA Streck tubes each filled with at least 10mL of the patient’s blood”);

                 Ex. 39 at 2 (describing Streck cell-free DNA tubes as containing a “unique

                 preservative [which] limits the release of genomic DNA, allowing isolation of high-

                 quality cell-free DNA” and “specialized chemistry” that “limit[s] cell lysis”));

              c. detecting the presence or absence of the free nucleic acid (see, e.g., Ex. 17 at 1–2

                 (describing the detection of dd-cfDNA)).

        92.      Defendants have infringed, and continue to infringe, one or more claims of the ’277

Patent under 35 U.S.C. § 271(a), either literally and/or under the doctrine of equivalents, by using

the Panorama, Signatera, and Prospera tests and by using the Vistara test and/or by directing and/or

controlling the performance of the claimed steps by third-party laboratories performing the Vistara

test.

        93.      Defendants have also induced infringement, and continue to induce infringement,

of one or more claims of the ’720 Patent under 35 U.S.C. § 271(b). Defendants actively,

knowingly, and intentionally induced, and continue to actively, knowingly, and intentionally

induce, infringement of the ’720 Patent by selling or otherwise supplying the Vistara tests with the

knowledge and intent that third-party laboratories will use the Vistara tests supplied by Defendants

to infringe the ’720 Patent; and with the knowledge and intent to encourage and facilitate third-

party infringement through the dissemination of the Vistara tests and/or the creation and




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dissemination of promotional and marketing materials, supporting materials, instructions, product

manuals, and/or technical information related to the Vistara tests.

       94.     Defendants specifically intended and were aware that the ordinary and customary

use of the Vistara tests would infringe the ’720 Patent. For example, Defendants sell and provide

the Vistara tests, which when used in their ordinary and customary manner intended and instructed

by Defendants, infringe one or more claims of the ’720 Patent, including at least exemplary claim

1. Defendants further provide product manuals and other instructional materials that cause third-

party laboratories to operate the Vistara tests for their ordinary and customary use. Defendants’

third-party laboratories have directly infringed the ’720 Patent, including at least exemplary claim

1, through the normal and customary use of the Vistara tests. Defendants accordingly have induced

and continue to induce Defendants’ third-party laboratories to use the Vistara tests in their ordinary

and customary way to infringe the ’720 Patent, knowing, or at least being willfully blind to the

fact, that such use constitutes infringement of the ’720 Patent.

       95.     Defendants have contributed to the infringement by third parties, including

Defendants’ third-party laboratories, and continue to contribute to infringement by third parties,

of one or more claims of the ’720 Patent under 35 U.S.C. § 271(c), by making, selling and/or

offering for sale in the United States, and/or importing into the United States, the Vistara tests,

knowing that those products constitute a material part of the inventions of the ’720 Patent, knowing

that those products are especially made or adapted to infringe the ’720 Patent, and knowing that

those products are not staple articles of commerce suitable for substantial non-infringing use.

       96.     Defendants have had knowledge of and notice of the ’720 Patent and their

infringement since at least June 2015, as evidenced by communications between Ravgen and

Defendants.



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       97.     Defendants’ infringement of the ’720 Patent was, and continues to be, willful and

deliberate since at least June 2015, when Defendants’ representatives communicated Defendants’

interest in acquiring or licensing the Ravgen patent portfolio, including the ’720 Patent.

       98.     Ravgen has been and continues to be damaged by Defendants’ infringement of the

’720 Patent, and will suffer irreparable injury unless the infringement is enjoined by this Court.

       99.     Defendants’ conduct in infringing the ’720 Patent renders this case exceptional

within the meaning of 35 U.S.C. § 285.

                                    PRAYER FOR RELIEF

       WHEREFORE, Ravgen prays for judgment as follows:

       A.      That Defendants have infringed each of the Patents-in-Suit;

       B.      That Defendants’ infringement of each of the Patents-in-Suit has been willful;

       C.      That Ravgen be awarded all damages adequate to compensate it for Defendants’

past infringement and any continuing or future infringement of the Patents-in-Suit up until the date

such judgment is entered, including pre- and post-judgment interest, costs, and disbursements as

justified under 35 U.S.C. § 284;

       D.      That any award of damages be enhanced under 35 U.S.C. § 284 as result of

Defendants’ willful infringement;

       E.      That this case by declared an exceptional case within the meaning of 35 U.S.C.

§ 285 and that Ravgen be awarded the attorney fees, costs, and expenses incurred in connection

with this action;

       F.      That Ravgen be awarded either a permanent injunction, or, at least, a compulsory

ongoing licensing fee; and




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       F.      That Ravgen be awarded such other and further relief at law or equity as this Court

deems just and proper.

                                DEMAND FOR JURY TRIAL

       Plaintiff Ravgen hereby demands a trial by jury on all issues so triable.



 Dated: June 1, 2020                                       Respectfully submitted,

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